Case 3:09-cv-05191-CRB   Document 119-11   Filed 01/14/11   Page 1 of 3




                EXHIBIT K
   Case 3:09-cv-05191-CRB                    Document 119-11                Filed 01/14/11           Page 2 of 3


Cooley
Wendy J. Brenner                                                                                  VIA EMAIL AND US MAIL
(650) 843-5371
brennerwj@cooley.com




December 23, 2010

Anna Levine
Disability Rights Advocates
2001 Center Street, Fourth Floor
Berkeley, CA 94704

RE: Enyart v. National Conference of Bar Examiners
Dear Ms. Levine:
This letter responds to your December 21, 2010 letter concerning additional requests of Ms.
Enyart with respect to modifications to the second preliminary injunction issued in this matter.
First, Ms. Enyart has requested to bring "a technical person of [her] choice to make certain that
the software is loaded in such a way that it works" when the laptop is made available for her
inspection on February 17, 2011, and again on February 21, 2011, if necessary. That is
acceptable to NCBE, provided that (1) it is acceptable to the California Bar, and (2) Ms. Enyart
confirms her understanding that NCBE is not responsible for the effects of any adjustments
made to the laptop by Ms. Enyart and her assistant.

Second, your letter reiterates Ms. Enyart's request that NCBE supply an individual with
"administrative privileges" to address any problems that arise during set up. NCBE has
previously articulated its position on this topic — NCBE will not provide administrative privileges
to anyone. NCBE will provide someone knowledgeable about the NCBE hardware and
software, as previously indicated. The NCBE representative available by telephone to assist
Ms. Enyart on both February 17 and February 21, 2011 will not use his/her administrative
privileges, nor will he/she transfer that ability. When the laptop leaves NCBE, it will be in
working order. To the extent Ms. Enyart or her assistant changes settings in the software
and/or attaches peripherals, NCBE cannot be responsible for the effects of such changes, and
is not willing to start adding, removing or modifying the data on the laptop after it leaves NCBE's
possession based upon Ms. Enyart's modifications. This is a secure, standardized exam, and
NCBE cannot guarantee the security of the exam, nor report a score if there has been
interference with the data, if it cannot ensure the integrity of the data on the laptop.

With respect to past administrations of the exam, NCBE disputes the significance of the issues
raised in your letter and/or that such issues could have been avoided if someone with
administrative privileges had been present. For example, with respect to the font issue on the
first administration, despite extensive communications between the parties and their counsel
prior to the examination, Ms. Enyart never mentioned that she required a certain font or font
size. And, indeed, it surprised NCBE that a certain font size was desired given that she is using
magnification software. Nevertheless, as Ms. Enyart raised that issue, it has been addressed.


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906753 v2/HN
 Case 3:09-cv-05191-CRB                     Document 119-11                Filed 01/14/11            Page 3 of 3


Cooley
Anna Levine
December 23, 2010
Page Two

With respect to the second administration, we understand that Ms. Enyart reported minor
synchronicity issues, however, as previously discussed, those issues were not present when the
laptop was shipped by NCBE. Nor is it clear that such problems could have been addressed if
the outdated antivirus program was removed — that was pure speculation on someone's part
and is not consistent with the fact that the software operated without problem when it left NCBE.
Indeed, NCBE's technical staff has consulted with the software vendors and been counseled
that using JAWS and ZoomText together, as opposed to one seamless voice and magnification
product, introduces synchronization risks acknowledged by the vendors that cannot always be
effectively resolved. Ms. Enyart's decision to alter the size of the font from 12- to 14-point type
may in fact be the reason that the cursor behaved differently between the two administrations.
Finally, NCBE's analysis of Ms. Enyart's performance on the test does not support an argument
that her performance was impacted by the reported problem. To the extent Ms. Enyart runs into
unanticipated hesitations on the next administration of the exam, she should work with
California to obtain stop-the-clock breaks.

Sincerely,

Cooley LLP



  endy J. Brenner




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